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               EXHIBIT 1




                                                        Exhibit 1
 Skip to Main Content Logout My Account Search Menu New Civil Search Refine Search Back                                                   Location : Fort Bend Images Help
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                                                                   R                              A
                                                                         C        N . 20-DCV-279310

Trevor Harris V. Kroger Texas L.P. D/B/A Kroger Houston #392, The Kroger Co., §                                                        Injury or Damage - Other Injury or
                                                                                                                           Case Type:
Kroger Houston #392, and Philip Ingram                                        §                                                        Damage
                                                                              §                                            Date Filed: 12/18/2020
                                                                              §                                             Location: 268th District Court
                                                                              §


                                                                                  P       I

                                                                                                                                             Attorneys
Defendant or      Ingram, Philip                                                                                                             Bryan Kyle Briscoe
Respondent                                                                                                                                    Retained
                   Richmond, TX 77407
                                                                                                                                             214-999-0550(W)


Defendant or      Kroger Houston #392                                                                                                        Bryan Kyle Briscoe
Respondent                                                                                                                                    Retained
                   Austin, TX 78701
                                                                                                                                             214-999-0550(W)


Defendant or      Kroger Texas L.P.                                                                                                          Bryan Kyle Briscoe
Respondent                                                                                                                                    Retained
                   Austin, TX 78701
                                                                                                                                             214-999-0550(W)


Defendant or      The Kroger Co.                                                                                                             Bryan Kyle Briscoe
Respondent                                                                                                                                    Retained
                   Austin, TX 78701
                                                                                                                                             214-999-0550(W)


Plaintiff or      Harris, Trevor                                                                                                             David K. Mestemaker
Petitioner                                                                                                                                    Retained
                                                                                                                                             713-626-8900(W)


                                                                         E            O               C

           OTHER EVENTS AND HEARINGS
12/18/2020 Petition       Index # 1
             Plaintiff's Original Petition and Discovery to Defendants
12/18/2020 Request         Index # 2
             Request for Process
12/21/2020 Issuance         Index # 3
             Citation Issued to Kroger Texas, LP
12/21/2020 Citation
             eService
              Kroger Texas L.P.                                              Unserved
12/21/2020 Issuance         Index # 4
             Citation Issued to Kroger Houston #392
12/21/2020 Citation
             eService
              Kroger Houston #392                                            Unserved
12/21/2020 Issuance         Index # 5
             Citation Issued to Kroger Co
12/21/2020 Citation
             eService
              The Kroger Co.                                                 Unserved
12/21/2020 Issuance         Index # 6
             Citation Issued to Philip Ingram
12/21/2020 Citation
             eService
              Ingram, Philip                                                 Served                       01/11/2021
                                                                             Returned                     01/13/2021
01/13/2021 Officers Return        Index # 7
             Citation for Philip Ingram Returned Served 1/11/21
01/25/2021 Answer/Contest/Response/Waiver           Index # 8
             Defendants Original Answer and Verified Denial
01/25/2021 Jury Fee Paid
             Jury Fee Paid by Defendant


                                                                              F               I



               Defendant or Respondent Kroger Texas L.P.
               Total Financial Assessment                                                                                                                              40.00
               Total Payments and Credits                                                                                                                              40.00
               Balance Due as of 02/03/2021                                                                                                                             0.00

01/25/2021 Transaction Assessment                                                                                                                                       40.00
01/25/2021 E-filing                         Receipt # 2021-01642-DCLK                                         Kroger Texas L.P.                                       (40.00)
                        Case 4:21-cv-00377 Document 1-2 Filed on 02/04/21 in TXSD Page 3 of 49
           Plaintiff or Petitioner Harris, Trevor
           Total Financial Assessment                                                             324.00
           Total Payments and Credits                                                             324.00
           Balance Due as of 02/03/2021                                                             0.00

12/18/2020 Transaction Assessment                                                                  324.00
12/18/2020 E-filing                        Receipt # 2020-29129-DCLK   Harris, Trevor            (324.00)
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               EXHIBIT 2




                                                        Exhibit 2
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                                                                                                                                Filed
                                                                                                                  12118/2020 2:58PM
                                                                                                             Beverley McGrew Walker
                                                                                                                         District Clerk
                                                                                                             Fort Bend County, Texas
                                                                                                                Salena Jasso

                                          CAUSE N0_20-DCV-279310

TREVOR HARRIS                                                    §       IN THE DISTRICT COURT

v.                                                                   ~Fort Bend County- 268th Judicial District Court
                                                                 §             JUDICIAL DISTRICT COURT
KROGER TEXAS L. P. D/B/A KROGER                                  §
HOUSTON #392, THE KROGER CO.,                                    §
KROGER HOUSTON #392, AND PHILIP                                  §
INGRAM                                                           §       FORT BEND COUNTY, TEXAS


                                PLAINTIFF'S ORIGINAL PETITION AND
                                   DISCOVERY TO DEFENDANTS

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW Plaintiff, TREVOR HARRIS, and files this original petition against

Defendants, KROGER TEXAS L. P. D/B/A KROGER HOUSTON #392, THE KROGER

CO., KROGER HOUSTON #392, and PHILIP INGRAM                                             (Defendant, Defendants,

KROGER), and would show the Court the following:

                                                                I.
                                 DISCOVERY CONTROL PLAN LEVEL

         Plaintiff intends that discovery be conducted under Discovery Level Ill and

requests the Court enter a discovery control order.

                                                            II.
                                           PARTIES AND SERVICE
1. Plaintiff:
     Plaintiff, TREVOR HARRIS, is a resident ofTexas.
2. Defendants:
     1. Defendant, KROGER TEXAS L.P ., is an Ohio corporation with its principal place

of business located at 1014 Vine St., Cincinnati, Ohio 45202-110. Defendant KROGER

TEXAS L.P. is licensed to do business in Texas.                               KROGER TEXAS L.P. owns and


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 operates a number of supermarkets and other businesses in the Fort Bend County, Texas

 area, including the supermarket made the basis of this lawsuit, known as KROGER

 HOUSTON #3921ocated at 6425 FM 1464, Richmond, Texas 77407. KROGER TEXAS

 L.P.'s registered agent for service of process through which KROGER TEXAS L.P. may

 be served is: Corporation Service Company d/b/a SCS-Lawyers Incorporating service

 Company, 211 E. 7th Street, Suite 620, Austin, Texas 78701, or wherever Defendant's

 agent may be found.

     2. Defendant, THE KROGER CO., is an Ohio corporation with its principal place of

 business located at 1014 Vine St., Cincinnati, Ohio                  45202-110.   Defendant   THE

 KROGER CO. is licensed to do business in Texas.                      THE KROGER CO. owns and

 operates a number of supermarkets and other businesses in the Fort Bend County, Texas

 area, Including the supermarket made the basis of this lawsuit, known as KROGER

 HOUSTON #392 located at 6425 FM 1464, Richmond, Texas 77407. THE KROGER

 CO.'s registered agent for service of process through which THE KROGER CO. may be

 served is: Corporation Service Company d/b/a SCS-Lawyers Incorporating Service

 Company, 211 E. 7th street, Suite 620, Austin, Texas 78701, or wherever Defendant's

 agent may be found.

     3. Defendant, KROGER HOUSTON #392, is a partnership, corporation, or other

 entity located and doing business in Richmond, Fort Bend County, Texas. Plaintiff also

 asserts that KROGER HOUSTON #392, is the assumed name under which one or more

 entities, including THE KROGER CO. and/or KROGER TEXAS L.P., are doing business

 and which are Ohio corporations with their principal place of business located at 1014

 Vine St., Cincinnati, Ohio             45202-110.         KROGER HOUSTON #392 may be served

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 Plaintiffs Original Petition and Discovery to all Defendants
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through its agent for service of process: Corporation Service Company d/b/a SCS-

Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620, Austin, Texas

78701,, or wherever Defendant's agent may be found.

    4. Defendant, PHILIP INGRAM, is a resident of Texas, and was at all times material

the employee, servant, or agent of one or more defendants, including KROGER TEXAS

L P. D/B/A KROGER HOUSTON #392, THE KROGER CO., and/or KROGER

HOUSTON #392. Defendant may be served at Defendant's place of business, 6425 FM

1464, Richmond, Texas 77407, or wherever Defendant may be found.


                                                           Ill.
                                       JURISDICTION AND VENUE

       The subject matter in controversy is within the jurisdictional limits of this Court.

         Venue in Fort Bend County is proper in this cause under §15.002(a)(l} of the Tex.

Civ. Prac. Rem. Code because all or a substantial part of the events or omissions,

including the incident in question giving rise to this lawsuit, occurred in Fort Bend County,

Texas.

                                                          IV.
       REQUEST FOR SUBSTITUTION OF TRUE NAME PURSUANT TO RULE 28

          To the extent that the above-named Defendants are conducting business

 pursuant to a trade name or assumed name, then suit is brought against them pursuant

 to the terms of Rule             28 of the Tex.R.Civ.P., and Plaintiff hereby demands upon

 answering this suit, that the Defendants answer in their correct legal and assumed

 names.




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Plaintiffs Original Petition and Discovery to all Defendants
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                                                            V.
                         TEXAS RULES OF CIVIL PROCEDURE, RULE 47
         Plaintiff seeks monetary remedies of more than $1,000,000.00 or the just and

reasonable amount awarded by a jury.

                                                           VI.
                       TEXAS RULES OF CIVIL PROCEDURE, RULE 193.7

         Pursuant to Rule 193.7 of the Tex.R.Civ.P., Plaintiff gives notice to Defendants

and other Parties that all documents produced by Defendants will be used at any pretrial

proceeding or at the trial of this case.

                                                           VII.
                                         FACTS AND ALLEGATIONS
       On or about December 26, 2018, Plaintiff, TREVOR HARRIS {Plaintiff, HARRIS)

was an invitee on the premises owned, operated, managed, occupied, or otherwise under

the control of Defendants, KROGER TEXAS L. P. D/BfA KROGER HOUSTON #392,

THE KROGER CO., and/or KROGER HOUSTON #392 and PHILIP INGRAM,

(Defendant, Defendants, KROGER), located at or about 6425 FM 1464, Richmond, Fort

Bend County, Texas.


         At all times relevant to Plaintiff's claims and causes of action herein, Defendants,

were the owners, managers, general partners, corporations, partnerships, lessees,

occupiers, possessors, franchisees, or otherwise the entities in possession, control,

contractual or de facto, of the subject premises.


         Plaintiff, an invitee on Defendants' premises, upon completing Plaintiff's work shift,

was in the process of walking to the front exit of Defendants' premises when she was

physically attacked by another customer of Defendants, who caused Plaintiff severe
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Plaintiff's Original Petition and Discovery to all Defendants
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  bodily injuries. Defendant, their agents, servants, or employees knew or should have

  known of the dangerous propensities of Plaintiff's attacker and said attacker's outward

  aggressive and dangerous behavior prior to the incident. The incident made the basis of

  this lawsuit was the proximate result of the negligence of Defendants.

                                                            VIII.

                                                CAUSES OF ACTION
           Plaintiff incorporates and adopts by reference the factual allegations above, for all

  causes of actions and claims for damages set forth in this petition.

           Whenever it is alleged herein that Defendants committed acts or omissions, It

  includes the acts and/or omissions of the agents, servants, and/or employees of

  Defendants while engaged in the course and scope of their employment and/or agency

  for Defendants.

                                                       Negligence

           Defendants owed a legal duty to Plaintiff to exercise ordinary care and operate

  Defendants' business so as to prevent unreasonable risks of harm to Plaintiff and the

  public. Additionally, or in the alternative, Defendants' entrusted work to a putative

  independent contractor, servant, or agent, but retained control of part of the work, thus

  subjecting Defendants to liability for physical harm to others for whose safety Defendants

  owed a duty to exercise reasonable care. Defendants' negligent acts or omissions were

  a proximate cause of the incident and injuries made the basis of this lawsuit.

           Defendants negligently breached their various legal duties and those breaches

  proximately caused Plaintiff's incident and Injuries and damages, including but not limited

  to the following:


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    1.       Failing to hire competent security personnel or a security company and staff with
             the required experience in and training to secure the safety of a retail
             establishment, including Plaintiff and the general public.
    2.       Failing to train its security staff, or monitor such staff for compliance, in the
             standards for securing a retail establishment related to the staff and customers
             and the general public.
    3.       Failing to train its retail staff, or monitor such staff or compliance, in the standards
             for interacting with customers and responding to dangerous behavior exhibited
             by such customers.
    4.       Falling to train its retail staff, or monitor such staff or compliance, in the standards
             for Interacting with intoxicated customers or those under the influence of drugs
             and responding to dangerous behavior exhibited by such customers.
    5.       Failing to use reasonable care in dealing with an aggressive, belligerent, and
             violent customers.
    6.       Failure to follow adequate safety and/or security policies and/or procedures to
             protect Plaintiff and the public from a known potential unreasonable risk of harm.
    7.       In all things, failing to act as a reasonable person and/or company using ordinary
             care in the same or similar circumstances.

                            Negligent Hiring, Training, Retaining and Supervision

           Defendants were negligent in hiring, training, retaining and supervision of

   Defendants' employees, including Philip Ingram, Defendants' employee/manager on

   duty and who was present during the events leading up to, and at the time of the attack

   on Plaintiff.     Defendants knew or should have known that Philip Ingram, and other

   employees, was unfit or unqualified to maintain the safety of Defendants' premises. An

   employer is subject to liability for physical harm to third persons caused by its failure to

  exercise reasonable care to employ, train, retain, and supervise employees competent to

   avoid unreasonable risk to Its Invitees, including Plaintiff. Defendants were negligent and

  grossly negligent in Defendants' hiring, training, retaining, and supervising Philip Ingram

   and other employees.

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           Also, Defendants were negligent and grossly negligent for not taking any action

   regarding Philip Ingram after Defendants knew or should have known of Ingram's failure

  to prevent persons with known violent propensities and Intentions from entering or

   remaining on Defendants' premises. Defendants had a duty to act as a reasonable

   prudent employer or person under the circumstances as those made the basis of this

   lawsuits. Defendant also had a duty to exercise reasonable care to ensure that persons

   on their premises did not cause or pose an unre01sonable risk of harm to Plaintiff or the

   general public. Defendants negligently breached these duties and was negligent and

   grossly negligent when, among other things, Defendants failed to take any action

   regarding the serious and imminent threats made by the person who attacked Plaintiff.

   Plaintiff's personal injuries and damages were a direct result of Defendants' actions

   and/or inactions. Defendants are also liable to Plaintiff for Plaintiff's injuries and damages

   under the theory of respondeat superior.

                                                              IX.
                               NEGLIGENCE OF DEFENDANTS
                       UNDER THE DOCTRINE OF RESPONDEAT SUPERIOR

           Defendants are liable for the torts committed by their employees during the course

   and scope of their employment. At the time of the Incident, Defendants and/or their

  employees were the agents, ostensible agents, servants, and employees of Defendants

  and were acting within the scope of their authority as such agents, ostensible agents,

  servants, and employees. Defendants' employees were negligent and/or grossly

  negligent more thoroughly described above was a proximate cause of Plaintiffs' injuries

  and damages. Therefore, Defendants should be held jointly and severally liable for



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   tortious actions of Defendants' agents, ostensible agents, servants, and/or employees

   under the doctrine of respondeat superior.

                                                               X.
                            GROSS NEGLIGENCE AS TO ALL DEFENDANTS

            Defendants' acts and/or omissions described hereinabove, when viewed from the

   standpoint of Defendants at the time of the above-described acts and/or omissions,

   involved an extreme degree of risk considering the probability and magnitude of the

   potential harm to Plaintiff and others. Defendants had actual, subjective awareness of

   the risks involved to Plaintiff and others similarly situated as a proximate result of the

   above-described acts or omissions, but nevertheless proceeded with conscious

   indifference to the rights, safety and/or welfare of Plaintiff and others. Therefore, based

   on the facts stated herein, Plaintiff requests exemplary damages be awarded to Plaintiff

   from Defendants.

                                                              XI.
                                                        DAMAGES

            All the above actions or omissions were a proximate and or producing cause of

   Plaintiff's injuries and damages. Plaintiff seeks damages from the Defendants

   including, but not limited to the following:

    1.      Reasonable medical care and expenses in the past. These expenses were
            incurred by Plaintiff for the necessary care and treatment of the Injuries
            proximately resulting from the incident and/or the aggravation of prior injuries
            and such charges are reasonable and were usual and customary charges
            for such services in the counties in which the services were rendered Texas.
    2.      Reasonable and necessary medical care and expenses which will in all
            reasonable probability be incurred in the future.



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  3.      Physical pain and suffering in the past and physical pain and suffering in the
                                                                                                I ,
          future.
  4.      Loss of earnings in the past and loss of earning capacity which will, in all
                                                                                                1   I
          probability, be incurred in the future.                                               .t II
  5,
  6.
          Physical impairment in the past and physical impairment in the future.
          Physical disfigurement in the past and physical disfigurement in the future.
                                                                                                    I
                                                                                                    ii
                                                                                                    I
  7.      Mental anguish in the past and mental anguish in the future.                              I
                                                           XII.
                                      DEMAND FOR TRIAL BY JURY
                                Plaintiff demands a jury trial on all issues.

          WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that the

 Defendants be cited to appear and answer herein, and that upon a final hearing of the

 cause, judgment be entered for the Plaintiff against Defendants, jointly and severally, for

 damages in an amount within the jurisdictional limits of the Court; together with pre and

 post-judgment interest at the maximum rate allowed by law, costs of court, and such other      !
 and further relief, both general and special, and at law and in equity, to which Plaintiff

 may be entitled.


                                                       Respectfully submitted:
                                                       MESTEMAKER, STRAUB & ZUMWALT
                                                       By: /s/ David K. Mestemaker
                                                       David K. Mestemaker
                                                       State Bar No. 13974600
                                                       dkm@mandsattorneys.com
                                                       (Do not use this e-mail for service of
                                                       documents)

                                                       By: /s/ Norman Straub
                                                       Norman Straub
                                                       State Bar No. 00793002
                                                       nstraub@mandsattorneys.com
                                                       (Do not use this e-mail for service of
                                                       documents)
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                                                         By: /s/ Jonathan B. Zumwalt
                                                         Jonathan B. Zumwalt
                                                         State Bar No. 24053570
                                                         jbz@mandsattornevs.com
                                                         (Do not use this e-mail for service of
                                                         documents)

                                                         3100 Timmons Lane, Suite 455
                                                         Houston, Texas 77027
                                                         Tel: (713) 626-8900/Fax: (713) 626-8910
                                                         ATTORNEYS FOR PLAINTIFF


                                    Designated E-Service Email Address
   The following is the undersigned attorney's designation of electronic service email
   address for all electronically served documents and notices, filed and unfiled,
   pursuant to Tex. R.Civ. P. 21(f)(2) & 21(a). (Contact@mandsattorneys.com). This is
   the undersigned's ONLY electronic service email address, and service through any
   other email address will be considered invalid.




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             PLAINTIFF'S REQUEST FOR DISCLOSURES, INTERROGATORIES,
             REQUEST FOR PRODUCTION, AND REQUEST FOR ADMISSIONS
                               TO EACH DEFENDANT

  TO EACH DEFENDANT:


  1.       Defendant, KROGER TEXAS L.P ., is an Ohio corporation with its principal place
  of business located at 1014 Vine St., Cincinnati, Ohio 45202-110. Defendant KROGER
  TEXAS L.P. is licensed to do business in Texas. KROGER TEXAS L.P. owns and
  operates a number of supermarkets and other businesses in the Fort Bend County, Texas
  area, including the supermarket made the basis of this lawsuit, known as KROGER
  HOUSTON #392 located at 6425 FM 1464, Richmond, Texas 77407. KROGER TEXAS
  L.P.'s registered agent for service of process through which KROGER TEXAS L.P. may
  be served is: Corporation Service Company dlbla SCS-Lawyers Incorporating Service
  Company, 211 E. 7th Street, Suite 620, Austin, Texas 78701, or wherever Defendant's
  agent may be found.

  2.       Defendant, THE KROGER CO., is an Ohio corporation with its principal place of
  business located at 1014 Vine St., Cincinnati, Ohio                 45202-110.   Defendant   THE
  KROGER CO. is licensed to do business in Texas.                     THE KROGER CO. owns and
  operates a number of supermarkets and other businesses in the Fort Bend County, Texas
  area, including the supermarket made the basis of this lawsuit, known as KROGER
  HOUSTON #392 located at 6425 FM 1464, Richmond, Texas 77407. THE KROGER
  CO.'s registered agent for service of process through which THE KROGER CO. may be
  served is: Corporation Service Company d/b/a SCS-Lawyers Incorporating Service
  Company, 211 E. 7th Street, Suite 620, Austin, Texas 78701, or wherever Defendant's
  agent may be found.

  3.       Defendant, KROGER HOUSTON #392, is a partnership, corporation, or other
  entity located and doing business in Richmond, Fort Bend County, Texas. Plaintiff also
  asserts that KROGER HOUSTON #392, is the assumed name under which one or more
  entities, including THE KROGER CO. and/or KROGER TEXAS L.P., are doing business
  and which are Ohio corporations with their principal place of business located at 1014

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  Vine St., Cincinnati, Ohio 45202-110.                     KROGER HOUSTON #392 may be served
  through its agent for service of process: Corporation Service Company dlbla SCS-
  Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620, Austin, Texas
  78701, , or wherever Defendant's agent may be found.

  4.       Defendant, PHILIP INGRAM, is a resident of Texas, and was at all times the
  employee, servant, or agent of one or more defendants, including KROGER TEXAS L.
  P. D/B/A KROGER HOUSTON #392, THE KROGER CO., KROGER HOUSTON #392.
  Defendant may be served at Defendant's place of business, 6425 FM 1464, Richmond,
  Texas 77407, or wherever Defendant may be found.




           Pursuant to Rules 192, 194, 196, 197, and 198 of the Texas Rules of Civil

  Procedure, Plaintiff request each and every Defendant to respond to Plaintiff's request

  for disclosures, Interrogatories, request for production, and request for admissions

  submitted herewith.

           Each and every Defendant shall file written responses to Plaintiff's request for

  disclosures, interrogatories, request for production, and request for admissions within fifty

  (50) days after the date of service. Each and every Defendant shall provide the

  requested responses, answers, or documents for Inspection and copying at the

  law offices of Mestemaker, Straub, and Zumwalt, 3001 Timmons Lane, Suite 455,

  Houston, Texas 77027.


                                I.       DEFINITIONS AND INSTRUCTIONS

  1. "Incident in question" or "incident made the basis of this lawsuit" means the
  incident that is referenced in the above styled lawsuit that occurred on or about the date
  identified in Plaintiff's most recent petition.



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  Plaintiffs Original Petition and Discovery to all Defendants
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   2. "Property in question", "subject property" means the property described above in
   Plaintiff's most recent Petition.
   3. The terms "document" or "documents" shall mean all documents and tangible
   things, in the broadest sense allowed under the Texas Rules of Civil Procedure, and
   include, but are not limited to, information contained in computer storage and other
   electronic Information retrieval systems, drafts, originals and nonconforming copies which
   contain deletions, insertions, handwritten notes or comments, however produced or
   reproduced, or to any other tangible permanent record, and without limitation, shall
   include, among other things, incident reports, medical reports, work safety logs,
   employment records, all marketing material, bids, letters, correspondence, records of
   discussions, conferences, memoranda, notes, telegrams, summaries, telephone logs and
   records, teletypes, bank checks, bank deposits and withdrawal slips, bank credit and debit
   memoranda, records, telexes, private wire messages, communications, calendars,
   diaries, appointment books, agenda of meetings, conversations, schedules, reports,
   studies, appraisals, analyses, lists, surveys, budgets, financial statements, financial
   projections, financial calculations, financial audits, contracts, agreements or proposed
   agreements,        confidentiality agreements, periodicals,         charts,   graphs,   interviews,
   speeches, transcripts, depositions, press releases, brochures, books of account,
   affidavits, communications with government bodies, invoices, notes and minutes of
   meetings of Boards of Directors, audit committees, financial committees and executive
   committees, interoffice communications, results of investigations, working papers,
   newspaper or magazine articles, records of payments, releases, receipts, computer
   programs and printouts, maps, blue prints, liftlngs, tax returns, vouchers, subpoenas,
   papers similar to any of the foregoing and other writings of every kind and descriptions
   (whether or not actually used) in Defendant's possession, custody or control; and other
   records of voice recordings, film, tapes, and other data compilations from which
   Information can be obtained whether these are resident on paper or other media such as
   magnetic, electronic, or optical.




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   4. Defendant(s) is to produce all documents that are in the possession, control, or custody
   of Defendant(s) or in the possession, control, or custody of any attorney for Defendant(s).
   This includes, but is not limited to, documents in the possession, custody, control of
   Defendant, Defendant's attorneys, agents, employees, investigators, consultants, and
   experts, as well as any firm, subsidiary, parent, affiliated, or related entity, and any other
   entity or business in which Defendant(s) owns a controlling interest or over which
   Defendant(s) exercises control. Defendant(s) is required to use reasonable diligence to
   locate the documents, including those that are not in Defendant's immediate possession.
   Without limiting the term "control," a document is deemed to be within Defendant's
   control if Defendant(s) have ownership, possession or custody of the document, or the
   right to secure the document or copy thereof from any person or public or private entity
   having physical possession thereof.

   5. With respect to hard copy or paper production, all documents responsive to this request
   shall be produced in their original form.

   6. All duplicates or copies of documents are to be provided to the extent they have
   handwriting, additions, or deletions of any kind different from the original documents being
   produced.

   7. Unless otherwise indicated, documents requested by this document request are
   documents referring to, relating to, or prepared during the last five (5) years.

   8. This document request requires Defendant(s) amend or supplement Defendant's
   production of documents called for by this document request.

   9. In the event that any document requested has been lost or destroyed, Defendant(s)
   shall identify such document and, In addition, specify (a) the date of Its loss or destruction;
   (b) the reason for its destruction; (c) the person authorizing its destruction; and (d) the
   custodian of the document immediately preceding its loss or destruction.




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   10. Plaintiff requests that Defendant(s) provide a privilege log containing the descriptions
   specified in Rules for each document not produced because of a claim of privilege. Such
   descriptions shall specify in writing with respect to each purportedly privileged document,
   its author(s), recipient(s), nature (e.g., memorandum, letter), date, subject matter, the
   nature of the claimed privilege and all facts Defendant( s) rely on to support the claim of
   privilege.

   11. If Defendant(s) object to any part of a document request, Defendant(s} shall produce
   all documents, or any portions thereof, covered by the request to which Defendant(s) do
   not object.

   12. Responsive Electronically Stored Information ("ESI") shall be produced in native form;
   that is, in the form in which the information and/or documents were customarily created,
   used, and stored by the native application employed by Defendant(s) in the ordinary
   course of business.

   a. If it is infeasible or unduly burdensome to produce an Item of responsive ESI In its
      native form, Defendant(s) may produce in a near-native form; that is, in a form in which
      the item can be imported into the native application without a material loss of content,
      structure or functionality as compared to the native form. Static image production
      formats serve as near-native alternatives only for documents which are natively static
      images (i.e., photographs and scans).

   b. The table below supplies examples of native or near-native forms in which specific
      types of ESI should be produced:



    Microsoft Word documents                            .DOC, .DOCX
    Microsoft Excel Spreadsheets                        .XLS, .XLSX
    Microsoft PowerPoint Presentations                  .PPT, .PPTX
    Microsoft Access Databases                          .MOB, .ACCDB
    WordPerfect documents                               .WPD
    Adobe Acrobat Documents                             .PDF
    Photographs                                         .JPG, .PDF
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   E-mail                                                Messages should be produced in a form or
                                                         forms that readily support import into standard
                                                         e-mail client programs; that is, the form of
                                                         production should adhere to the conventions
                                                         set out in RFC 5322 (the Internet e-mail
                                                         standard).
                                                         For Microsoft Exchange or Outlook messaging,
                                                         .PST format will suffice. Single message
                                                         production formats like .MSG or .EML may be
                                                         furnished if source foldering data is preserved
                                                         and produced.
                                                         For Lotus Notes mall, furnish .NSF files or
                                                         convert to .PST.
                                                         If Defendant's workflow requires that
                                                         attachments be extracted and produced
                                                         separately from transmitting messages,
                                                         attachments should be produced in their native
                                                         forms with parent/child relationships to the
                                                         message and container(s) preserved and
                                                         produced in a delimited text file.



  c. Defendant(s) need only produce reports from databases that can be generated in the
     ordinary course of business (i.e., without specialized programming skills), and these
     shall be produced in a delimited electronic format preserving field and record structures
     and names. The parties will meet and confer regarding programmatic database
     productions as necessary.

  d. Individual documents requiring redaction shall (as feasible) be redacted natively or
     produced in .PDF format and redacted using the Adobe Acrobat redaction feature.
     Redactions shall not be accomplished in a manner that serves to downgrade the ability
     to electronically search the un-redacted portions of the item.

  e. Defendant(s) need not produce identical documents in more than one form and shall
     globally de-duplicate identical items across custodians using each document's unique
     MD5 hash value. The content, metadata and utility of a document must all be
     considered in determining whether documents are identical, and items reflecting
     different information shall not be deemed identical.
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   f. Production should be made using appropriate electronic media of Defendant's choosing
      provided that the production media chosen not impose an undue burden or expense
      upon       Plaintiff(s)     or    Plaintiff(s)'     counsel        as   recipients.   Defendant(s)    must,
      contemporaneously with production, supply decryption credentials and passwords to
      the receiving party for all items produced in an encrypted or password-protected form.

   g. Each document produced shall be uniquely identified by naming the item to correspond
      to a Bates identifier according to the following protocol:

            i. The first fourteen (14) characters of the filename will reflect a unique
                alphanumeric designation identifying the party making production and the case;

            ii. The next ten (10} characters, beginning with an underscore, will be a unique,
                consecutive numeric value assigned to the item by the producing party. This
                value shall be padded with leading zeroes as needed to preserve its length;

            iii. The final five (5} characters are reserved to a sequence beginning with a dash
                (-)followed by a four-digit number reflecting pagination of the item when printed
                to paper or converted to an image format for use in proceedings or when
                attached as exhibits to pleadings.

            iv. By way of example, a Microsoft Word document produced by Acme Corporation
                in its native format might be named: ACME_VMESHSDCA_000000123.docx.
                Were the document printed out for use in deposition, page six of the printed item
                must            be          embossed               with         the         unique       identifier
                ACME_VMESHSDCA_000000123-0006.

   h. Documents designated Confidential may, at Defendant's option:

          i. Be separately produced on electronic production media prominently labeled to
            identify the contents as confidential; or, alternatively,
          ii.Each such designated document shall have appended to the file's name
            (immediately          following        its    Bates     identifier)       the   following   protective
            legend:-CONFIDENTIAL-SUBJ_TO _PROTECTIVE_ORDER_IN_ CAUSE_MDL-
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            14-0123.

   i. Defendant(s) shall furnish a delimited load file supplying the metadata field values listed
     below for each document produced (to the extent the values exist and as applicable):


     ,. v;,,.. ··\';·:,C ! ).'r.·c.;:r;.·••:.'.\{);'{·!··"''"''''9'i.\F ;..ii.·?,:·•·. •,· ·•· ·.;   ;·.··~'SITTJ>_.".at'··•   ::
      BeginBates
      EndBates
      BeginAttach
      EndAttach
      Custodian/Source
      Source File Name
      Source File Path
      From/Author
      To
       cc
       sec
       Date Sent
      Time Sent
      Subject/Title
      Last Modified Date
      Last Modified Time
      DOCUMENT Type
      Redacted Flag (yes/no)
      Hidden Content/Embedded Objects Flag (yes/no)
      Confidential Flag (yes/no)
       MD5 Hash Value
       Hash De-Duplicated Instances (by full path)

   j. Each production should include a cross-reference load file that correlates the various
      files, images, metadata field values and searchable text produced.

   k. Respond to each request for production by listing the unique identifier (Bates style)
      numbers/ranges of responsive documents produced.

   I. If any document to be produced has been lost, discarded, transferred to another person
      or entity, destroyed, or otherwise disposed of, please set forth in writing: (1) the date,

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       name and subject matter of the document; (2) the name, employment and title of each
       person who prepared, received, reviewed, or had possession, custody, or control of
       the document; (3) all persons with knowledge of the contents or any portion of the
       contents of the document; (4) the previous location of the document; (5) the date of
       disposal or transfer- of the document; (6) the reason for disposal or transfer of the
       document; and, if applicable, (7) the manner of disposal of the document; or, if
       applicable, (8) the names and addresses of the transferees of the document.

    m.lt is required that all documents and/or other data compilations which might impact on
       the subject matter of this litigation be preserved and that any ongoing process of
       documents destruction involving such documents cease. In those instances where
       document destruction has already taken place, it is requested that the documents that
       would have been relevant to the following discovery request be identified as well as
       the date of destruction and the individual authorizing, ordering and/or carrying out the
       destruction.




    n. If Defendant(s) believe that a complete response to any request would require the
       disclosure of confidential health information, the disclosure of which Defendant( s)
       believe is prohibited by the Health Insurance Portability and Accountability Act (HIPAA)
       or other law, Plaintiff will accept responses that are redacted to comply with such law
       but that are otherwise complete. Plaintiff expressly reserve the right to challenge any
       such redaction.

    13. The terms "and/or", "or", and "and" are used inclusively, not exclusively.

    14. The singular includes the plural number, and vice versa. The masculine includes the
    feminine and neuter gender. The past tense includes the present tense where the clear
    meaning is not distorted by change of tense.




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  15. The terms "identify" or "identity" when used herein means:

        a. With respect to a natural person, all that Defendant(s) knows or that Defendant(s)
        can determine about his or her full name or names, title, present or last known
        employer or job description, and present or last known home and business
        addresses.

         b. With respect to an entity or organization which is not a natural person, all that
         Defendant(s) knows or that Defendant(s) can determine about its full name or names,
        dates and places of formation, principal places of business, and business addresses.

         c. With respect to documents, all that Defendant(s) knows or that Defendant(s) can
         determine about title, type of documents, date, author, addressee, recipients, any
         identifying numbers on such documents, substance of its contents, subject matter,
         present location, present custodian, and each person who has possession, custody,
         or control over each copy of each document.

         d. With respect to a physical object, all that Defendant(s) knows or that Defendant(s)
         can determine about its common name, identifying number(s), manufacturer, and
         date of manufacture of the object. e. With respect to an event, all that Defendant(s)
         knows about the date, time, place, participants, actions taken, and results obtained.

   16. The terms "custodial document", "custodial documents", "custodial file", or
   "custodial files" shall mean all documents maintained by Defendant's current
  employees and past employees (while they were employed). For example, custodial
   documents include each document on and/or In an individual employee's computer, voice
   mail, office desk, office filing cabinet or storage system, file storage maintained by that
   person outside of his/her office, and any other location In which that employee keeps or
   kept documents. If Defendant(s) have failed to preserve or no longer have custodial
   documents for any current or past employee implicated by these Requests, please
   comply with Instruction 5 above.




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  17. The terms "communication" or "communications" includes, without limitation,
  every manner or means of statement, utterance, notation, disclaimer, transfer, or
  exchange of information of any nature whatsoever, by or to whomever, whether oral,
  written, or face-to-face, by telephone, U.S. mail, personal delivery, electronic mail,
  computer, or otherwise, specifically including, without limitation, correspondence,
  conversations, dialogue, discussions, interviews, consultations, agreements, and other
  understandings.

  18. The term "Information" should be construed in the broadest possible sense. It is
  intended reference both facts and applicable principles. This term should not be
  construed to be limited by any method of acquisition or compilation and should, therefore,
  be construed to include oral information as well as documents.

  19. The terms "person" or "persons" includes, without limitation, a natural person, firm,
  association, organization, partnership, business, trust, limited liability company,
  corporation, or public entity.

  20. The terms "entity" or "entities" includes, without limitation, any corporation,
  corporate form (such as a limited partnership, limited liability partnership, or limited liability
  company), parent company, affiliate, subsidiary, partner, member, venture, partnership,
  or any other structure (or a chain of successive entities) that conducts business, has
  conducted business, or anticipates conducting business.

  21. The terms "expert", "experts", "expert witness", or "expert witnesses" shall
  mean any person or entity who may be called upon as an expert witness at trial and any
  person or entity used for consultation who is not expected to be called as a witness at
  trial, but whose opinions, work product, or mental impressions have been reviewed or
  relied upon by a testifying expert.

  22. The terms "concerning" or "relating to" shall mean referring to, reflecting, or related
  in any manner, logically, factually, indirectly, or directly to the matter discussed.




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  23. The terms "describe" or "describing" when used in reference to any documents or
  tangible evidence includes stating the title or name, date, time, author of documents, the
  common name, identifying number, manufacturer, and date of manufacture of any object
  and the name and address of the person(s) having possession, custody, or control of
  such at the present time.

  24. The terms "evidencing" shall mean constituting, reflecting, memorializing, referring
  to and/or supporting -logically, factually, indirectly, or directly- the matter discussed.

  25. The term "damages" shall mean all claims for relief alleged by Plaintiff(s) in the latest
  Complaint.

  26. The terms "incident", "Incident in question", "occurrence in question",
  "incident made the basis of this lawsuit", "accident made the basis of this lawsuit",
  shall mean, unless otherwise indicated, the events which give rise to this lawsuit as set
  forth in Plaintiffs most recent petition.


         REQUESTS FOR DISCLOSURE, INTERROGATORIES, REQUEST FOR
        PRODUCTION, AND REQUEST FOR ADMISSIONS TO EACH DEFENDANT

                  II.       REQUEST FOR DISCLOSURE TO EACH DEFENDANT

           Plaintiff requests that each Defendant disclose, within 50 days of the service of this
  Request, the information or material described in Rule 194.2 of the Texas Rules of Civil
  Procedure.

                         Ill.      INTERROGATORIES TO EACH DEFENDANT
  INTERROGATORY 1.
  State the full name, current physical address, telephone number, employer, and job title,
  of each person answering and assisting in answering these interrogatories on behalf of
  Defendant.
  ANSWER:




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   INTERROGATORY 2.
   Has Defendant been sued under its correct name? If not. state the correct name and
   identify any associated registered agent along with said agent's address.
   ANSWER:


   INTERROGATORY 3.
   Describe your understanding of how the incident occurred and state what the claim or
   contention of the Defendant will be regarding any cause or contributing cause of the
   incident, including a statement of the facts and information upon which such contention
   is based.
   ANSWER:



   INTERROGATORY 4.

   Describe fully the guidelines and procedures, including any and all inspection programs
   utilized by Defendant, at the time of the accident, pertaining to the inspection of the
   premises for hazards that may cause slip or trip and falls or incidents similar to the one
   that is the basis of this lawsuit.
   ANSWER:


   INTERROGATORY 5.
   Fully describe the nature and content of all discussions between Defendant's
   representatives and Plaintiff immediately after the incident which makes the basis of this
   suit until Plaintiff left Defendant's premises.
   ANSWER:


   INTERROGATORY 6.
   State whether or not you have a copy of any statement which the Plaintiff has previously
   made concerning the actions or its subject matter and which is in your possession,
   custody, or control. For the purpose of this question, a statement previously made
   includes:

                     a.    a written statement signed or otherwise adopted or approved by the
                     person making it; or


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                     b.     a stenographic, mechanical, electrical, or other recording or any
                     transcription thereof which is a substantially verbatim recital of an oral
                     statement by the person making it and contemporaneously recorded.
   ANSWER:


   INTERROGATORY 7.

   Did you or any agent or employee of the Defendant ever take or receive any statement,
   eilher oral or in writing, from any person, including parties to this lawsuit, who had any
   Information or knowledge relating to the incident? If yes, please state as to each such
   person:


            a.        his/her identity, including name and address;

            b.       the date of each such statement;

            c.       the substance of each such statement; and

            d.       if any such statement was in writing, either attach a copy of each such
                     statement to your answers to these interrogatories or indicate where and
                     when each such statement may be examined by counsel.


   ANSWER:


   INTERROGATORY 8.

   State each and every act which you contend Plaintiff should have performed or should
   not have performed to avoid the incident or the damages arising therefrom. As to each
   such act or inaction identified, please further set forth:


            a.       each non-privileged fact which you contend supports the subject contention;


            b.       the identity of any person known to you who possesses or claims to possess
                     knowledge of any non-privileged facts supporting each contention;




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            c.        an identification, with such particularity as you would require in a motion to
                      produce, of each and every writing which relates to or supports each such
                      contention; and


            d.        the identity of the custodian of each writing identified in your answer to the
                      foregoing sub-part of this interrogatory.


   ANSWER:


   INTERROGATORY 9.
   Does Defendant contend that the negligence of anyone other than the Plaintiff caused or
   contributed to the injuries, losses, or damages in this lawsuit, identify each other party
   that Defendant contends to have been negligent and the manner In which each such party
   was negligent.
   ANSWER:


   INTERROGATORY 10.
   Please describe other incidents occurring at the Defendant's premises where the incident
   made the basis of this lawsuit occurred, within the three years preceding Plaintiffs
   incident, that involve a physical attack by one of Defendant's customers against another
   customer.
   ANSWER:


   INTERROGATORY 11.

   Please identify any of Defendant's employees, agents or representatives who witnessed
   the incident made the basis of this lawsuit by stating their name and their last known
   contact information.

   ANSWER:




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   INTERROGATORY 12.
   Please identify any of Defendant's employees, agents or representatives who were
   working in the area (same department) at the time immediately preceding and at the time
   of the incident made the basis of this lawsuit by stating their name, their duties at the time
   of the incident, and their last known contact information.
   ANSWER:


   INTERROGATORY 13.
   Please state what measures or precautions had been taken prior to and including the day
   of the incident made the basis of this lawsuit to prevent belligerent persons from entering
   or remaining in Defendant's premises.
   ANSWER:

   INTERROGATORY 14.
   Please state what measures or precautions had been taken prior to the day of the incident
   to and including the date of the incident made the basis of this lawsuit to prevent outwardly
   aggressive persons from entering or remaining in Defendant's premises.
   ANSWER:


   INTERROGATORY 15.
   Please state what measures or precautions had been taken prior to and including the day
   of the incident made the basis of this lawsuit to prevent intoxicated persons from entering
   or remaining in Defendant's premises.
   ANSWER:


   INTERROGATORY 16.
   Please state what measures or precautions had been taken prior to and including the day
   of the incident made the basis of this lawsuit to prevent persons under the influence of
   intoxicants or drugs from entering or remaining in Defendant's premises.
   ANSWER:




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    INTERROGATORY 17.
    Please describe the method and type of digital or video surveillance in the area where the
    Plaintiff's incident occurred by stating whether surveillance recording, digital, film, or
    otherwise exists, whether the recording or video is black and white or in color, whether or
    not the surveillance recording or video still exists, and a list of the cameras and their
    location within forty feet of where the incident occurred at the time the incident occurred.

    ANSWER:


    INTERROGATORY 18.
    Prior to the incident, when was the last time that a Defendant or representative of the
    Defendant visited the area where the incident occurred for any reason by stating the name
    of the representative, the reason the representative visited the area?

    ANSWER:


    INTERROGATORY 19.

    Please state all steps taken immediately prior to the incident made the basis of this lawsuit
    by the Defendant to protect Plaintiff and the general public from ha;:ards or dangers posed
    by other persons on Defendant's premises.

    ANSWER:


                    Ill.      REQUEST FOR PRODUCTION TO EACH DEFENDANT

    REQUEST FOR PRODUCTION 1.
    Any and all photographs, video tapes, or digital or audio recordings of the area of the
    incident or Plaintiff for the period beginning 2 hours before through 30 minutes after the
    incident which makes the basis of this lawsuit.


    REQUEST FOR PRODUCTION 2.
    Any and all diagrams or schematics of the floor plan and/or layout of the subject premises
    in its entirety at or about the time of the incident which makes the basis of this suit.


    REQUEST FOR PRODUCTION 3.
    Any and all photographs, movies, video. recordings, digital recordings, or visual
    reproductions of any kind in your possession, the possession of your attorney, your
    experts, or any other person acting on your behalf pertaining to the incident, the scene of

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 the incident, or any other fact or matter that is the subject or related to the subject of this
 suit, whether or not expected to be introduced into evidence at trial.


 REQUEST FOR PRODUCTION 4.
 Any and all papers, books, accounts, writings, drawings, or graphs which may be used in
 the defense of this cause of action.

 REQUEST FOR PRODUCTION 5.
 Any and all documents, digital or otherwise, and tangible things, the production of which
 has not been requested pursuant to any other request which you intend to offer into
 evidence at the trial of this case.


 REQUEST FOR PRODUCTION 6.
 A list of all employees on duty at the time of the incident and the areas or tasks said
 employees were assigned to.


 REQUEST FOR PRODUCTION 7.
 Any and all documents related to non-privileged investigatory measures taken by
 Defendant in an effort to determine the basis of Plaintiff's claim.


 REQUEST FOR PRODUCTION 8.
 Any and all documents related to previous incidents similar to that suffered by Plaintiff for
 the period of 3 years prior to and including Plaintiff's incident through the present.

 REQUEST FOR PRODUCTION 9.
 Any and all documents related to previous physical altercations on the subject premises
 of Defendant for a period of 3 years prior to and including the date of Plaintiff's incident
 through the present.


 REQUEST FOR PRODUCTION 10.
 Any and all documents, videos, digital presentations, as well as training manuals, relating
 to Defendant's policies and procedures for dealing with incidents of a nature similar to
 that on which this lawsuit is based in effect on the day of the incident.


 REQUEST FOR PRODUCTION 11.
 A list of all lawsuits filed against Defendant arising from incidents of a nature similar to
 that on which this lawsuit is based for the period of 3 years prior to and including the date
 of Plaintiff's incident through the present.




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 REQUEST FOR PRODUCTION 12.
 Copies of any incident reports, accident reports or internal documents that evidence
 previous complaints by customers similar to that which makes the basis of this suit for the
 period of 3 years prior to and including the date of Plaintiff's incident through the present.
                                                                                                  :
 REQUEST FOR PRODUCTION 13.
 Any and all statements previously made by Plaintiff concerning the subject matter of this        I
 lawsuit, including any written statement signed or otherwise adopted or approved by the
 Plaintiff hereto and any stenographic, mechanical, electrical, or other type of recording or
 any transcription thereof made by the Plaintiff and contemporaneously recorded.                  II
 REQUEST FOR PRODUCTION 14.                                                                       I,
 A verbatim copy of each and every statement in your possession allegedly made by the
 Plaintiff.


 REQUEST FOR PRODUCTION 15.
 Copies of statements from employees who had contact with Plaintiff on or after the date
 of the incident, regarding the incident which makes the basis of this suit.


 REQUEST FOR PRODUCTION 16.
 A copy of any training or Instruction manuals given to employees that address or mention
 how to inspect and monitor the premises to deal with the customers that pose a danger
 to other customers for the period of three (3) years prior to and in effect the day of the
 incident through the present.


 REQUEST FOR PRODUCTION 17.
 A copy of any questionnaires, evaluations, or tests employees were required to take
 (either in their orientation, safety meetings, safety seminars, or as required by
 management) that relate or pertain to incidents that are the same or similar to the incident
 made the basis of this lawsuit. This request only includes requested items that were
 instituted or taken within three (3) years prior to, and including, the incident through the
 present.


 REQUEST FOR PRODUCTION 18.
 A copy of any training or Instruction materials, whether digital or hard copy, given to or
 received by Defendant's employees that address or mention how employees are directed
 to deal with customers or persons on Defendant's premises who pose hazards or dangers
 to others on Defendant's premise for a period of three (3) years prior to, and including,
 the date of the incident made the basis of this lawsuit through the present.


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 REQUEST FOR PRODUCTION 19.
 A copy of any tests employees were required to take (either in their orientation, safety
 meetings, safety seminars, or as required by management) that tests matters such as
 identifying customers or persons who pose a threat or danger to others on Defendant's
 premises. This request only includes tests that were instituted or taken within the three
 (3) years prior to and including the date of the incident made the basis of this lawsuit
 through the present.


 REQUEST FOR PRODUCTION 20.
 Philip Ingram's individual results of the tests identified in Request number 19.


 REQUEST FOR PRODUCTION 21.
 Copies of any emails or texts pertaining to the incident in question to or from Defendant
 referencing or pertaining to the incident in question other than those between Defendant
 and Defendant's' attorneys in this matter or insurance representatives in this matter after
 Defendant had a reasonable belief that a lawsuit would be filed against them arising
 from this incident.

 REQUEST FOR PRODUCTION 22.
 Any em ails or texts, whether stored as hard copies, digitally or magnetically stored, by or
 Defendant that supports the date by which Defendant contends it had a reasonable belief
 that Defendant would be the subject of litigation arising from the incident in question.

 REQUEST FOR PRODUCTION 23.
 Any and all documents related to previous incidents similar to that suffered by Plaintiff on
 the subject premises of Defendant for the three (3) years prior to and including the date
 of Plaintiff's Incident through the present.

 REQUEST FOR PRODUCTION 24.
 A verbatim copy of each and every statement in your possession allegedly made by the
 Plaintiff, Plaintiff's agents, or employees, in this case. Such statements would include
 oral statements, written statements, or recorded statements.

 REQUEST FOR PRODUCTION 25.
 Copies of statements from employees who had contact with Plaintiff on or after the date
 of the incident, regarding the incident which makes the basis of this suit.


 REQUEST FOR PRODUCTION 26.
 A copy of any incident report regarding the subject matter that forms the basis of this
 lawsuit.

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   REQUEST FOR PRODUCTION 27.
   Copies of all medical records, medical bills, medical narratives, and medical notes
   pertaining to medical care received by Plaintiff in Defendant's or Defendant's attorney's
   possession.

  REQUEST FOR PRODUCTION 28.
  Any and all recordings of the incident made the basis of this lawsuit, including the 1 hour
  period before and after the incident.


                   V.        REQUEST FOR ADMISSIONS TO EACH DEFENDANT

   REQUEST FOR ADMISSION 1.
   Admit or deny that at the time of the incident in question, Defendant was the owner of
   the subject property where the Incident made the basis of this suit occurred.


   ANSWER:
  REQUEST FOR ADMISSION 2.
  Admit or deny that at the time of the incident in question, Defendant was the
  management company for the subject property where the incident made the basis of
  this suit occurred.


  ANSWER:

  REQUEST FOR ADMISSION 3.
  Admit or deny that at the time of the incident in question, Defendant was the entity
  responsible for safety of persons on Defendant's premises at the time of the incident
  made the basis of this lawsuit.


  ANSWER:

  REQUEST FOR ADMISSION 4.
  Admit or deny that at the time of the incident in question, Defendant was the entity in
  possession of the subject premises where the incident made the basis of this lawsuit
  occurred.


  ANSWER:




                                                        Page 31 of31
  Plaintiff's Original Petition and Discovery to all Defendants
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               EXHIBIT 3




                                                        Exhibit 3
                                                                                                                          Filed
 Case 4:21-cv-00377 Document 1-2 Filed on 02/04/21 in TXSD Page 37 of 49                                   1/13/2021 1:17 PM
                                                                                                     Beverley McGrew Walker
                                                                                                                 District Clerk
                                                                                                     Fort Bend County, Texas
SERVICE FEE NOT COLLECTED                                                                               Donald Evans

    BY DISTRICT CLERK
                                          THE STATE OF TEXAS

                                                CITATION

TO:   PHILIP INGRAM
      6425 FM 1464
      RICHMOND TX 77407

NOTICE:

You have been sued. You may employ an attorney. If you or your attorney do not file a written answer
with the clerk who issued this citation by 10:00 a.m. on Monday next following the expiration of twenty
days after you were served this citation and PLAINTIFF'S ORIGINAL PETITION AND DISCOVERY TO
DEFENDANTS filed on December 18, 2020, a default judgment may be taken against you.

The case is presently pending before the 268TH JUDICIAL DISTRICT COURT of Fort Bend County
sitting in Richmond, Texas. It bears cause number 20-DCV-279310 and is styled:

TREVOR HARRIS V. KROGER TEXAS L.P. D/B/A KROGER HOUSTON #392, THE KROGER CO.,
KROGER HOUSTON #392, AND PHILIP INGRAM

The name and address of the attorney for PLAINTIFF is:

DAVID K. MESTEMAKER
MESTEMAKER STRAUB & ZUMWALT
3100 TIMMONS LANE SUITE 455
HOUSTON TX 77027
713-626-8900

The nature of the demands of said PLAINTIFF is shown by a true and correct copy of the PLAINTIFF'S
ORIGINAL PETITION AND DISCOVERY TO DEFENDANTS accompanying this citation and made a
part hereof.

If this Citation is not served, it shall be returned unserved. Issued under my hand and seal of said Court,
at Richmond, Texas, on this the 21st day of December, 2020.
  Case 4:21-cv-00377 Document 1-2 Filed on 02/04/21 in TXSD Page 38 of 49




20-DCV-279310                                         268th Judicial District Court
Trevor Harris V. Kroger Texas L.P. D/B/A Kroger Houston #392, The Kroger Co., Kroger Houston #392, and Philip
Ingram

                                  OFFICER'S OR AUTHORIZED PERSON'S RETURN

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- - - - - - - - - - - · in person, a true copy of this citation together with the accompanying copy
of the petition, having first attached such copy of such petition to such copy of citation and endorsed on
such copy of citation the date of delivery.

Total fee for serving_ citation at $80.00 each $_ _ _ _ _ __

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                                                           Name of Officer or Authorized Person
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I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.

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                                                               ORIGINAL

Citation issued to Philip Ingram on 12/21/2020.
Case 4:21-cv-00377 Document 1-2 Filed on 02/04/21 in TXSD Page 39 of 49




               EXHIBIT 4




                                                        Exhibit 4
                                                                                                                  Filed
    Case 4:21-cv-00377 Document 1-2 Filed on 02/04/21 in TXSD Page 40 of 49                        1/25/2021 2:37 PM
                                                                                            Beverley McGrew Walker
                                                                                                         District Clerk
                                                                                             Fort Bend County, Texas
                                                                                            Vanessa Vasquez

                                   CAUSE NO. 20-DCV-279310

 TREVOR HARRIS,                          §       IN THE DISTRICT COURT
      Plaintiff,                         §
                                         §
 vs.                                     §
                                         §       268TH DISTRICT COURT
 KROGER TEXAS L.P. D/B/A KROGER          §
 HOUSTON #392, THE KROGER CO.,           §
 KROGER HOUSTON #392, AND                §
 PHILIP INGRAM                           §
         Defendants.                     §       FORT BEND COUNTY, TEXAS
______________________________________________________________________________
                  DEFENDANTS’ ORIGINAL ANSWER AND VERIFIED DENIAL

       Defendants Kroger Texas L.P. (incorrectly identified as “Kroger Texas, L.P. d/b/a Kroger

Houston #392), The Kroger Co., Kroger Houston #392, and Philip Ingram file this Original Answer

and Verified Denial and in support thereof would respectfully show the Court as follows:

                                               I.
                                        VERIFIED DENIAL

       1.      By way of verified denial pursuant to Texas Rule of Civil Procedure 93, Defendants

deny that Plaintiff is entitled to recover from all of the Defendants in the capacity in which they

have been sued. Specifically, Defendants deny that “Kroger Texas, L.P. d/b/a Kroger Houston

#392, The Kroger Co., Kroger Houston #392,” owned or operated the store or employed Plaintiff

at issue at any relevant time. A simple search on the Fort Bend County Appraisal District’s website

clearly demonstrates that “Kroger Texas LP” is the sole premises owner. Likewise, a simple search

on the Texas Comptroller of Public Accounts’ website reveals that now entity name “Kroger

Houston #392” exists. Consequently, to the extent Plaintiff has any right or potential right of

recovery – which Defendants contest – Kroger Texas L.P. is the only proper Kroger entity to this

action. See, e.g., Ray Malooly Trust v. Juhl, 186 S.W.3d 568, 571 (Tex. 2006).



DEFENDANTS’ ORIGINAL ANSWER AND VERIFIED DENIAL                                              Page 1
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                                               II.
                                         GENERAL DENIAL

       2.       Defendants deny each and every material allegation contained in Plaintiff’s

Original Petition, demand strict proof thereof, and to the extent that such matters are questions

of fact, say Plaintiff should prove such facts by a preponderance and/or clear and convincing

evidence to a jury, if she can so do.

                                                III.
                                             DEFENSES

       3.       Plaintiff’s claims are barred, in whole or in part, by the applicable statute of

limitations. Although Plaintiff timely filed suit against Defendants, she failed to timely serve her

lawsuit upon Defendants. See, e.g., Perkins v. Groff, 936 S.W.2d 661, 668 (Tex. App.—Dallas 1996,

writ denied).

       4.       Plaintiff’s damages or injuries, if any, were caused by the acts of third persons not

under the control of Defendants. Such acts or omissions of said third persons were the sole,

producing, proximate, intervening, or supervening cause of Plaintiff’s damages or injuries, if any.

       5.       Moreover, Plaintiff’s damages or injuries, if any, were solely and proximately

caused by the criminal acts of the unidentified “Kroger customer,” whom Plaintiff alleges struck

her, which could not have been reasonably foreseen by Defendants. Defendants are not liable

for the criminal acts of third parties that are not reasonably foreseeable, and hence, the

unidentified customer’s criminal acts constitute an intervening and/or superseding cause of

Plaintiff’s alleged damages.

       6.       Further, the customer’s criminal acts constituted negligence per se on the

occasion in question and were the sole proximate cause of Plaintiff’s damages, if any.




DEFENDANTS’ ORIGINAL ANSWER AND VERIFIED DENIAL                                                Page 2
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       7.      Defendants assert that they were not negligent as a matter of law because Plaintiff

was performing her customary and usual job at the time of the incident at issue and the same

character of work that Plaintiff and other employers in similar positions regularly performed.

       8.      Defendants assert that they owed Plaintiff no duty to warn, train, or provide

additional equipment because the task she was performing did not require special training or

tools and the risks associated with it are commonly known and/or appreciated by Plaintiff.

       9.      Plaintiff failed to use that degree of care and caution that would have been used

by a reasonable person under the same or similar circumstances, thereby proximately causing

Plaintiff’s injuries and damages, if any. Such acts or omissions of Plaintiff were the sole proximate

cause of Plaintiff’s damages or injuries, if any.

       10.     In the alternative, the accident complained of was an unavoidable accident, as

that term is defined under Texas law.

       11.     Defendants respectfully request that the factfinder allocate responsibility, if any,

among all parties, settling parties, and responsible third parties, in accordance with Chapters 32

and 33 of the Texas Civil Practice and Remedies Code.

       12.     In the unlikely event an adverse judgment is rendered against Defendants in this

matter, Defendants respectfully pray for contribution, indemnity and/or all available credits as

provided for in the Texas Civil Practice and Remedies Code and under Texas law.

       13.     Defendants are entitled to a credit and/or offset against any judgment that may

be rendered against them for any and all amounts paid to or on behalf of Plaintiff, under any of

Defendants’ benefit/insurance programs.




DEFENDANTS’ ORIGINAL ANSWER AND VERIFIED DENIAL                                                Page 3
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       14.     The damages about which Plaintiff complains, if any, were the result of prior or

pre-existing or subsequent injuries, accidents or conditions, and said prior or pre-existing or

subsequent injuries, accidents or conditions were the sole and/or a contributing cause of

Plaintiff’s damages alleged against Defendants.

       15.     Plaintiff breached her duty to mitigate damages by failing to exercise reasonable

care and diligence to avoid loss and minimize the consequences of damages.

       16.     Plaintiff is malingering and/or exaggerating the nature and severity of her injuries

in order to continue treatment, and accordingly, Defendants contend said treatment is not

medically necessary or reasonable.

       17.     Any claims for medical or health care expenses incurred are limited to the amount

actually paid or incurred by or on behalf of Plaintiff, pursuant to Texas Civil Practice and Remedies

Code §41.0105.

       18.     Pursuant to Texas Civil Practice & Remedies Code § 18.091, to the extent that

Plaintiff is seeking a recovery for loss of earnings, lost wages, loss of earning capacity and/or loss

of contributions of pecuniary value, evidence of such alleged losses must be presented by Plaintiff

in the form of a net loss after reduction for income tax payments, or unpaid tax liability to any

federal income tax law.

       19.     Defendants specifically deny Plaintiff’s claims that their actions were such that

exemplary damages may be awarded against them and respectfully pray that the Court strike

such claims in the absence of sufficient evidence produced by Plaintiff in support of these claims.




DEFENDANTS’ ORIGINAL ANSWER AND VERIFIED DENIAL                                                 Page 4
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       20.     Defendants further assert that Plaintiff’s claims for exemplary damages are wholly

barred by Texas Civil Practice & Remedies Code § 41.005, because Plaintiff’s action arises from

alleged harm resulting from a criminal act of another.

       21.     Defendants further plead the defense of unconstitutionality and say any award of

exemplary damages would constitute the imposition of a criminal penalty without the safeguards

guaranteed by the Fifth, Sixth, Eighth, and Fourteenth Amendments of the Constitution of the

United States and the similar provisions of the Texas Constitution. Furthermore, the imposition

of exemplary damages constitutes an excessive fine in violation of the Eighth Amendment, denies

Defendants the equal protection of the laws under the Fourteenth Amendment, and violates the

due process clauses of the Fifth and Fourteenth Amendments. Any claim by Plaintiff for

exemplary damages should be stricken as unconstitutional and any award of exemplary damages

should be set aside for the reasons stated above.

                                           IV.
                               REQUEST FOR COURT REPORTER

       22.     Defendants respectfully demand a court reporter be present at all proceedings

before the Court.

                                              V.
                                        JURY DEMAND

       23.     Defendants hereby demand trial by jury under Texas Constitution Article 1, section

15, and tender herewith the requisite jury fee as required by the Texas Government Code and

Fort Bend County District Clerk.




DEFENDANTS’ ORIGINAL ANSWER AND VERIFIED DENIAL                                            Page 5
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                                                 VI.
                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendants respectfully pray that Plaintiff take

nothing by this cause of action, that Defendants be permitted to recover the costs expended on

their behalf, and for such other and further relief to which Defendants may show themselves

justly entitled, in law or in equity.

                                               Respectfully submitted,

                                               /s/ B. Kyle Briscoe
                                               B. Kyle Briscoe
                                               State Bar No. 24069421
                                               kbriscoe@peavlerbriscoe.com
                                               Seth R. Lightfoot
                                               State Bar No. 24093625
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                                               PEAVLER|BRISCOE
                                               2215 Westgate Plaza
                                               Grapevine, Texas 76051
                                               (214) 999-0550 (telephone)
                                               (214) 999-0551 (facsimile)
                                               ATTORNEYS FOR DEFENDANT


                                        CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been
forwarded to all counsel of record pursuant to, and in accordance with, the Texas Rules of Civil
Procedure on January 25, 2021.

                                               /s/ B. Kyle Briscoe
                                               B. Kyle Briscoe




DEFENDANTS’ ORIGINAL ANSWER AND VERIFIED DENIAL                                           Page 6
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                                                    VERIFICATION

        STATE OF TEXAS                          §
                                                §
        COUNTY OF TARRANT                       §

         Before me, the undersigned authority, did personally appear Seth R. Lightfoot, who upon
 his oath deposes and says that he is one ofthe attorneys of record for Defendants, he has never
 been convicted of a disqualifying crime, he is over the age of 21, and he is competent to make
 this verification. Accordingly, Mr. Lightfoot verifies that the facts alleged in paragraph "1. Verified
 Denial" of the foregoing pleading are within his personal nowledge an true and correct.




                Subscribed and sworn to before me on this _l2 day of January 2021.




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    ~YP(J ,,,        MARIA LOHSE
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                                                       NOTARY PUBLIC in and for the State of Texas
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 DEFENDANTS' ORIGINAL ANSWER AND VERIFIED DENIAL                                                     Page 7
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               EXHIBIT 5




                                                        Exhibit 5
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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 TREVOR HARRIS                              §
      Plaintiff,                            §
                                            §
 v.                                         §      CIVIL ACTION NO. 4:21-cv-00377
                                            §
 KROGER TEXAS, L.P., D/B/A KROGER           §
 HOUSTON #392, THE KROGER CO.,              §
 KROGER HOUSTON #392, AND                   §
 PHILIP INGRAM                              §
        Defendants.                         §

                               LIST OF ALL COUNSEL OF RECORD

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Counsel for Defendants Kroger Texas, L.P., d/b/a Kroger Houston #392,
The Kroger Co., Kroger Houston #392, and Philip Ingram

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